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                                    UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF MINNESOTA




 In re:
 Dennis E. Hecker,                                                  ORDER
                                            Debtor.                 BKY 09-50779


At Minneapolis, Minnesota, July 12, 2018.

                    This case is before the court on the trustee's notice of settlement filed on May 3,

2018, as document no. 1034, regarding a settlement between the trustee and the United States

Attorney for the District of Minnesota. The debtor filed an objection to the settlement, but has

since withdrawn his objection.

                    Based on the notice of settlement, the motion, and the file,

                    IT IS ORDERED: The settlement described in the notice of settlement filed on

May 3, 2018, as document no. 1034, is approved.




                                                       /e/ Robert J. Kressel
                                                        ROBERT J. KRESSEL
                                                        UNITED STATES BANKRUPTCY JUDGE



NOTICE OF ELECTRONIC ENTRY AND
FILING ORDER OR JUDGMENT
Filed and Docket Entry made on 07/12/2018
Lori Vosejpka, Clerk, by LH
